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13                          UNITED STATES DISTRICT COURT
14                        EASTERN DISTRICT OF CALIFORNIA
15   CARLOS JIMENEZ and JUAN                     Case No.: 2:23-cv-00398-WBS-JDP
     PINZON, individually, and on behalf of
16   other members of the general public         Hon. William B. Shubb
     similarly situated, and as aggrieved
17   employees pursuant to the Private           ORDER GRANTING STIPULATION
     Attorneys General Act (“PAGA”); and         TO REMAND ACTION TO STATE
18   MICHAEL MAGDALENO, as an                    COURT
     aggrieved employee pursuant to PAGA,
19
                  Plaintiffs,
20         vs.
21   ROOFLINE, INC. dba ROOFLINE
     SUPPLY & DELIVERY, an Oregon
22   corporation; SRS DISTRIBUTION
     INC., a Delaware corporation; J. B.
23   WHOLESALE ROOFING AND
     BUILDING SUPPLIES, INC., a
24   California corporation; BUILDERS
     SUPPLY LOGISTICS, INC., a
25   Delaware corporation; and DOES 1
     through 10, inclusive,
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                  Defendants.
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                     ORDER GRANTING STIPULATION TO REMAND ACTION TO STATE COURT
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 1                                 ORDER ON STIPULATION
 2          Based on the Parties’ Stipulation to Remand Action to State Court and good
 3   cause appearing therefor, the Court orders as follows:
 4          1.     This action is remanded to the Superior Court of the State of California for
 5   the County of Sacramento solely for purpose of the Parties seeking court approval of
 6   their settlement and without prejudice to Defendants’ right to a federal forum; and
 7          2.     Should the Sacramento County Superior Court deny settlement approval,
 8   Plaintiffs may dismiss the case without prejudice subject to refiling of the case in federal
 9   court subject to tolling the statute of limitations to match the limitations period in the
10   now-pending action.
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12          IT IS SO ORDERED.
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14   Dated: April 18, 2024
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                       ORDER GRANTING STIPULATION TO REMAND ACTION TO STATE COURT
